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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ELISABETH REGINA MARIA GABRIELE
VON PEZOLD, ANNA ELEONORE
ELISABETH WEBBER (NÉE VON PEZOLD),
HEINRICH BERND ALEXANDER JOSEF VON
PEZOLD, MARIA JULIANE ANDREA
CHRISTIANE KATHARINA BATTHYÀNY
(NÉE VON PEZOLD), GEORG PHILIPP
MARCEL JOHANN LUKAS VON PEZOLD,                         Civil Action No. 1:21-cv-02004-APM
FELIX ALARD MORITZ HERMANN KILIAN
VON PEZOLD, JOHANN FRIEDRICH GEORG
LUDWIG VON PEZOLD, ADAM FRIEDRICH
CARL LEOPOLD FRANZ SEVERIN VON
PEZOLD,

                  Petitioners,

       v.

REPUBLIC OF ZIMBABWE,

                  Respondent.


                                   RETURN OF SERVICE

       On August 17, 2021, Petitioners filed an affidavit requesting foreign mailing to the

Ministry of Foreign Affairs of the Republic of Zimbabwe via DHL. (Dkt. 5) On August 18,

2021, Petitioners requested that the Clerk effect service of one copy of the Summons, Petition,

Declaration in Support, Notice of Appearance, Proposed Order, Notice of Suit and all other

papers thus far electronically filed on this Docket via DHL to the Ministry of Foreign Affairs of

the Republic of Zimbabwe pursuant to 28 U.S.C. § 1608(a)(3). (Dkt. 6) The Clerk effected

service via DHL and entered the Certificate of Mailing into the record. (Dkt. 7) No translations

were required because English is an official language of Zimbabwe.

       I HEREBY CERTIFY that, pursuant to 28 U.S.C. § 1608(a)(3), I caused a copy of the

Summons, Petition, Declaration in Support, Notice of Appearance, Proposed Order, Notice of
          Case 1:21-cv-02004-APM Document 8 Filed 08/25/21 Page 2 of 2




Suit and all other papers thus far electronically filed on this Docket to be served on the Ministry

of Foreign Affairs of the Republic of Zimbabwe, by mailing the aforesaid documents to the said

entity, addressed to Hon. Lt. General (Rtd.) Dr. S.B. Moyo, The Ministry of Foreign Affairs,

P.O. Box 4240 Munhumutapa Building, Samora Machel Avenue/ Sam Nujoma Street, Harare,

Zimbabwe, which were delivered on August 25, 2021. True and correct copies of the DHL

waybill, the tracking receipt, and the proof of delivery are attached as Exhibit 1. An individual

named “Innocent” signed for the receipt of the package.

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing

information is true and correct.

Dated: August 25, 2021                            /s/ Chris Paparella
                                                 Chris Paparella (Bar No. NY0091)
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                                                 Marcel Johann Lukas von Pezold, Felix Alard
                                                 Moritz Hermann Kilian von Pezold, Johann
                                                 Friedrich Georg Ludwig von Pezold, Adam
                                                 Friedrich Carl Leopold Franz Severin von
                                                 Pezold




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